  Case 2:08-cr-00461-TS Document 109 Filed 01/20/12 PageID.242 Page 1 of 3




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
        Plaintiff,                                       MEMORANDUM DECISION AND
                                                         ORDER DENYING DEFENDANT’S
                                                         MOTION TO TRANSFER CUSTODY


                vs.


 TYRELL ELSWORTH COX,                                    Case No. 2:08-CR-461 TS
        Defendant.




       This matter is before the Court on a letter written by Defendant Tyrell Elsworth Cox.

Defendant asks this Court to transfer him to federal custody so that he may respond to the

allegations that he violated the terms of his supervised released. Unfortunately, because

Defendant is in state custody on state charges, the Court is unable to grant the relief Defendant

requests.

                                       I. BACKGROUND

       On July 16, 2008, Defendant was indicted on one count of bank fraud, one count of

aggravated identity theft, and four counts of theft of mail. Defendant pleaded guilty to the bank

fraud and aggravated identity theft counts on May 11, 2009. Defendant was sentenced to 27


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  Case 2:08-cr-00461-TS Document 109 Filed 01/20/12 PageID.243 Page 2 of 3




months imprisonment to be followed by 48 months supervised release.

       On September 12, 2011, Defendant admitted violating the terms of his supervised release.

Defendant was sentenced to 4 months custody and 4 months home confinement, with 39 months

of supervised release to follow.

       There are now allegations that Defendant has again violated the terms of his supervised

release. One of the allegations is that Defendant committed another state offense: theft by

deception.

       On December 6, 2011, Defendant was sentenced in state court to 180 days jail based on

the theft by deception charge. Defendant is currently in state custody and a federal detainer has

been lodged against him. The state court ordered that Defendant could be released to federal

prison if imprisonment is ordered and that the state sentence could run concurrent to any federal

sentence. Defendant now requests that he be transferred to federal custody so that he may

respond to the allegations and begin serving any sentence that he may be given.

                                        II. DISCUSSION

       Defendant requests that he be transferred to federal custody. Fed.R.Crim.P. 32.1 provides

that “[a] person held in custody for violating probation or supervised release must be taken

without unnecessary delay before a magistrate judge.”1 Defendant, however, is not presently in

federal custody on a charge of violating probation or supervised release. Rather, he is in state

custody, serving a term of 180 days for his conviction for theft by deception. The fact that the

Court has issued an arrest warrant for his alleged violations of his supervised release terms and


       1
           Fed.R.Crim.P. 32.1(a).

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  Case 2:08-cr-00461-TS Document 109 Filed 01/20/12 PageID.244 Page 3 of 3




that a detainer has been lodged against him does not permit this Court to transfer him to federal

custody. Defendant must first complete his state court sentence. Once Defendant is release from

state custody he will be brought before the Court to respond to the allegations that he violated the

terms of his supervised release. At that time, Defendant may argue that his sentence should be

reduced based on the amount of time spent in state custody. However, until Defendant is

released from state custody and is brought before the Court, the Court can take no action on the

alleged supervised release violations.

                                         III. CONCLUSION

       It is therefore

       ORDERED that Defendant’s motion to Transfer Custody (Docket No. 108) is DENIED.

       DATED January 20, 2012.

                                              BY THE COURT:


                                              _____________________________________
                                              TED STEWART
                                              United States District Judge




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